 

Case 2:10-cv-10978-PJD-MJH ECF No. 154, PagelD.2124 Filed 05/17/11 Page 1of8

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

AMERICAN UNIVERSITY OF ANTIGUA COLLEGE
OF MEDICINE, a foreign corporation,

Plaintiff,
United States District Court Judge
Patrick J. Duggan, presiding
Michael Hluchaniuk, referral
V Case No.: 2:10-cv-10978

STEVEN L. WOODWARD,

 

 

Defendant.
Eric A. Buikema (P58379) STEVEN L. WOODWARD
CARDELLI, LANFEAR & BUIKEMA, P.C. In Pro Per
Attomeys for Plaintiff c/o 7211 Brittwood Lane
322 W. Lincoln Flint, MI 48507
Royal Oak, MI 48067 Steve _L woodward@yahoo.com
(248) 544-1100
ebuikema@cardellilaw.com

 

 

 

 

PLAINTIFE’S RESPONSE TO DEFENDANT’S MOTION FOR ADJOURNMENT FOR
DISCOVERY (Docket No. 145), MOTION FOR ADJOURNMENT TO ADD COUNTER

CLAIMS (Docket No. 146), AND MOTION FOR LEAVE TO FILE MOTION FOR
SANCTIONS (Docket No. 151)
Plaintiff American University of Antigua College of Medicine (““AUA”) states its
response to Defendant’s Motion for Adjournment for Discovery (Docket No. 145), Motion for
Adjournment to Add Counter Claims (Docket No. 146) and Motion for Leave to File Motion for

Sanctions (Docket No. 151) as follows:

1. Defendant’s motions are frivolous.
Case 2:10-cv-10978-PJD-MJH ECF No. 154, PagelD.2125 Filed 05/17/11 Page 2 of 8

2. Defendant’s motions to adjourn (Docket Nos. 145 and 146) are without good
cause and should properly be denied pursuant to Fed. R. Civ. P. 16(b).

3. As an initial matter, Defendant’s motions are untimely, seeking a reopening of
discovery nearly a month after discovery closed on April 11, 2011. (See scheduling order at
Docket No. 94).

4. Defendant wishes to dilatorily supplement his discovery responses.

5. While Defendant owed a duty to seasonably supplement his discovery responses,
Defendant does not seek to do so in good faith’.

6. Instead, the only reason he seeks to supplement his responses is because a motion
for sanctions is pending which criticizes the insufficiency of his responses. (Docket No. 141).

7. Defendant’s responses have been overdue since early December 2010. He only
served his “responses” in late March 2011 pursuant to the Court’s order requiring “full and
complete” responses.

8. However, for the reasons articulated in Plaintiff's Motion for Sanctions (Docket
No. 141), Defendant’s answers were incomplete, void of substantial content, and sanctionable.

9. The Court should not reward Defendant for his willful defiance of the Court's
order by allowing him to amend. Instead, the Court should enter an order of sanctions for
Defendant’s wrongful conduct and bind him to the previously produced answers. His actions
must have consequences.

10. Defendant wishes to add a counter-claim against AUA. This is both untimely and

without merit.

 

' Defendant styled his motion as one based on Fed. R. Civ. P. 15 allowing amendment. However, in violation of LR
15.1 he failed to attach a copy of his proposed amendment.

2
Case 2:10-cv-10978-PJD-MJH ECF No. 154, PagelD.2126 Filed 05/17/11 Page 3 of 8

11. Counterclaims must be stated in a party’s responsive pleading or shortly
thereafter. See Fed. R. Civ. P. 13(a)(1), 15(a). Defendant’s request is untimely to say the least.

12. Similarly Defendant’s claims ostensibly arise out of Defendant’s theories that
AUA conspired to expel him’. Defendant already brought these claims in Oakland County
Circuit Court and the same were summarily dismissed. The Michigan Court of Appeals
unanimously affirmed.

13. As such, any Claims that Defendant brought or could have brought against AUA
arising out of his relationship with AUA are barred by the doctrine of res judicata.

14. Should the Court allow Defendant to proceed with his claims, Plaintiff requests an
order of costs occasioned by Defendant’s untimely complaint including costs for Defendant’s
depositions (which will need to be retaken to inquire into these new claims), and the costs
associated with the preparation of a Motion for Summary Judgment to dismiss these claims.

15. Finally, Defendant seeks leave to file a motion for sanctions (Docket No. 151).
This motion is frivolous.

16. Defendant’s request is untimely, coming after the motion cutoff date of April 29,
2011. (Docket No. 94).

17. Similarly, Defendant only relies upon Fed. R. Civ. P. 15, which relates only to
amendments of pleadings. A motion is not a pleading. Fed. R. Civ. P. 7(a). Similarly, there is
no pleading which Defendant seeks to amend.

18. Finally, Defendant’s proposed motion for sanctions (which was not appended to
Defendant’s motion in violation of LR 15.1) ostensibly seeks recovery on grounds he already

articulated in Defendant’s Motion for Sanctions (Docket No. 136), in response to Plaintiff's

 

* Defendant did not append to his motion a copy of his proposed pleadings in violation of LR 15.1. The nature of
his counterclaims remain a mystery.
Case 2:10-cv-10978-PJD-MJH ECF No. 154, PagelD.2127 Filed 05/17/11 Page 4 of 8

Motion for Security for Costs (Docket No. 150), and in response to Plaintiff's Motion for
Sanctions (Docket No. 150). As such, at the very least, Defendant’s request is redundant and
duplicative. For the reasons described in response or reply to those motions, the substantive

content of Defendant’s motion is frivolous.

Wherefore Plaintiff respectfully requests that the Court deny Defendant’s Motions

(Docket Nos. 145, 146 and 151).

Respectfully submitted,

/s/ Eric A. Buikema (P58379)
Eric A. Buikema (P58379)
Cardelli, Lanfear & Buikema, P.C.
322 West Lincoln Avenue

Royal Oak, Michigan 48067

(248) 544-1100
ebuikema@cardellilaw.com

Dated: May 17, 2011
CERTIFICATE OF SERVICE

The undersigned certifies that the foregoing Plaintiff's Response to Defendant’s Motion
for Adjournment for Discovery (Docket No. 145), Motion for Adjournment to Add Couinter
Claims (Docket No. 146), and Motion for Leave to File Motion for Sanctions (Docket No. 151)
and this Certificate of Service were served upon Steven L. Woodward, Defendant, via his email
address Steve_L_woodward@yahoo.com and First Class U.S. mail to Steven Woodward, c/o 7211

Brittwood Lane, Flint, MI 48507 on May 17, 2011.

/s/ Eric A. Buikema

Cardelli, Lanfear, & Buikema, P.C.

322 W. Lincoln

Royal Oak, MI 48067

(248) 544-1100.

ebuikema(@cardellilaw.com
(P58379)

4
Case 2:10-cv-10978-PJD-MJH ECF No. 154, PagelD.2128 Filed 05/17/11 Page 5 of 8

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

AMERICAN UNIVERSITY OF ANTIGUA COLLEGE
OF MEDICINE, a foreign corporation,

Plaintiff,
United States District Court Judge
Patrick J. Duggan, presiding
Michael Hluchaniuk, referral
Vv Case No.: 2:10-cv-10978

STEVEN L. WOODWARD,

 

 

Defendant.
Eric A. Buikema (P58379) STEVEN L. WOODWARD
CARDELLI, LANFEAR & BUIKEMA, P.C. In Pro Per
Attorneys for Plaintiff c/o 7211 Brittwood Lane
322 W. Lincoln Flint, MI 48507
Royal Oak, MI 48067 Steve_L_woodward@yahoo.com
(248) 544-1100
ebuikema@cardellilaw.com

 

 

 

 

 

BRIEF IN SUPPORT OF PLAINTIFF’S RESPONSE TO DEFENDANT’S MOTION FOR
ADJOURNMENT FOR DISCOVERY (Docket No. 145), MOTION FOR
ADJOURNMENT TO ADD COUNTER CLAIMS (Docket No. 146), AND MOTION FOR
LEAVE TO FILE MOTION FOR SANCTIONS (Docket No. 151)
OVERVIEW

Discovery is now closed and trial is set for July/August of this year. Defendant for the

first time seeks leave to file a counterclaim and to reopen discovery to pursue the same. For the

reasons discussed below, Defendants Motions (Docket Nos. 145, 146 and 151) must be denied.
Case 2:10-cv-10978-PJD-MJH ECF No. 154, PagelD.2129 Filed 05/17/11 Page 6 of 8

DISCUSSION
I. Defendant’s Motions to Adjourn are Untimely and Not Supported by Good Cause

A motion to adjourn is customarily made prior to the event that the moving party seeks to
modify. See e.g. Fed. R. Civ. P. 16(b) and LR 40.2. Similarly, a party seeking a scheduling
order modification bears the burden of proving good cause. Defendant has complied with
neither. Discovery closed in this matter on April 11, 2011. (Docket No. 94). Defendant did not
file his motion to adjourn until May 3, 2011. For the reasons articulated below, Defendant’s
motions are not supported by good cause and must be denied.

I. Defendant’s Request for a Counter Claim is Futile and Unduly Prejudicial to Plaintiff

Defendant’s Motion for leave to file a counterclaim is both untimely and _ futile.
Discovery has long closed and the time to file a counterclaim is with the responsive pleading or
shortly thereafter with a timely amendment. See e.g. Fed. R. Civ. P. 13(a), 15(a). Defendant’s
answer was filed long ago and no amendment is proper.

Defendant’s claims ostensibly arise out of Defendant’s theories that AUA conspired to
expel him®. Defendant already brought these claims in Oakland County Circuit Court and the
same were summarily dismissed. The Michigan Court of Appeals unanimously affirmed.
Defendant did not seek to have the Supreme Court review the Court of Appeals’ decision.

As such, any Claims that Defendant brought or could have brought against AUA arising
out of his relationship with AUA are barred by the doctrine of res judicata See Westwood
Chemical Co. v. Kulick, 656 F.2d 1224, 1227 (6th Cir., 1981), citing Chicago, R. l & P. R. Co.
v. Schendel, 270 U.S. 611, 616-617, 46 S. Ct. 420, 422-23, 70 L. Ed. 757 (1926). Here

Defendant’s putative claims against AUA have already been reduced to a final judgment and no

 

3 Defendant did not append to his motion a copy of his proposed pleadings, so the nature of his counterclaims
remain a mystery.
Case 2:10-cv-10978-PJD-MJH ECF No. 154, PagelD.2130 Filed 05/17/11 Page 7 of 8

new claims can be maintained against AUA. As such, Defendant’s requested counterclaim
would fail as a matter of law.

Should the Court allow Defendant to proceed with his claims, Plaintiff requests an order
of costs occasioned by Defendant’s untimely complaint including costs for Defendant’s
depositions (which will need to be retaken to inquire into these new claims) and the costs
associated with the preparation of a Motion for Summary Judgment to dismiss these claims.

HI. Defendant’s Request to File a Motion for Sanctions Should be Denied

Defendant seeks leave to file a Motion for Sanctions. This untimely motion should be
denied.

As an initial matter, Defendant’s motion is untimely, filed after the motion cutoff date of
April 29, 2011. Similarly, the only grounds Defendant uses in support of his motion is Fed. R.
Civ. P. 15. Fed. R. Civ. P. 15 relates to amendments of pleadings. A motion is not a “pleading”
as defined by the Federal Rules. Fed. R. Civ. P. 7(a). Defendant asserts no pleading which he
seeks to amend.

Defendant’s proposed motion for sanctions (which was not appended to Defendant’s
motion in violation of LR 15.1) ostensibly seeks recovery on grounds he already articulated in
Defendant’s Motion for Sanctions (Docket No. 136), in response to Plaintiff's Motion for
Security for Costs (Docket No. 150), and in response to Plaintiff's Motion for Sanctions (Docket
No. 150). As such, at the very least, Defendant’s request is redundant and duplicative. For the

reasons described in response or reply to those motions, the substantive content of Defendant’s

motion is frivolous.
Case 2:10-cv-10978-PJD-MJH ECF No. 154, PagelD.2131 Filed 05/17/11 Page 8 of 8

IV.  Defendant’s Motion to Supplement Discovery Should be Denied

Defendant seeks an order allowing him to supplement his discovery responses following
the close of discovery. Defendant seeks this order since a motion for sanctions is pending which
criticizes his dilatory and wholly insufficient discovery responses is pending. (Docket No. 141).

Defendant’s responses have been overdue since early December 2010. He only served
his “responses” in late March 2011 pursuant to the Court’s order requiring “full and complete”
responses. However, for the reasons articulated in Plaintiff's Motion for Sanctions (Docket No.
141), Defendant’s answers were incomplete, void of substantial content, and sanctionable.

The Court should not reward Defendant for his willful defiance of the Court's order by
allowing him to amend. Instead, the Court should enter an order of sanctions for Defendant’s
wrongful conduct and bind him to the previously produced answers. His actions must have
consequences.

CONCLUSION

Wherefore Plaintiff respectfully requests that the Court deny Defendant’s Motions

(Docket Nos. 145, 146 and 151).
Respectfully submitted,
/s/ Eric A. Buikema (P58379)
Eric A. Buikema (P58379)
Cardelli, Lanfear & Buikema, P.C.
322 West Lincoln Avenue
Royal Oak, Michigan 48067

(248) 544-1100
ebuikema@cardellilaw.com

Dated: May 17, 2011
